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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

MELINDA SGARIGLIA,                                         )
                                                           )
Condominium Owner,                                         )
                                                           )
       Plaintiff,                                          )
                                                           )
v.                                                         )       Case No. 2019 CV 05684
                                                           )
AMERICAN INTERNATIONAL RELOCATION                          )       DISTRICT JUDGE
SERVICES, LLC, D.B.A. AIRES, AN ILLINOIS                   )       ROBERT M. DOW, JR.
LIMITED LIABILITY COROPORATION,                            )
NICHOLAS GONRING & KELLY GONRING,                          )
                                                           )
       Defendants.                                         )

                          1st AMENDED VERIFIED COMPLAINT

       Plaintiff, MELINDA SGARLIGLIA, by and through her attorneys, Carol Oshana and

Oshana Law, as and for her 1st Amended Complaint against Defendants, AMERICAN

INTERATIONAL RELOCATION SEVICES, LLC, d/b/a AIRES, and NICHOLAS AND

KELLY GONRING states as follows:

                                    I.      THE PARTIES

       1.      Plaintiff, MELINDA SGARIGLIA (“Sgariglia”), is a citizen of the State of

Illinois, residing in Cook County, Illinois and an owner of a condominium located at 2726 West

Cortez Street, Unit 1, Chicago, IL 60622 (“Condominium”). The property index number is 16-

01-408-055-1001. The building consists of a 3-unit condominium association called 2726 W.

Cortez Avenue Condominiums (“Condo Association”).

       2.      Defendant, AMERICAN INTERATIONAL RELOCATION SEVICES, LLC,

d/b/a AIRES (“AIRES”), is an Illinois Limited Liability Corporation that is located at 6 Penn

Center West, Suite 200, Pittsburgh, PA 15276.




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       3.      Defendant, Nicholas Gonring and Kelly Gonring (“The Gonrings”) are the former

owners of the Condominium. They purchased the Condominium on or about May 5, 2016.

                               II.     JURISDICTION AND VENUE

       4.      Jurisdiction is proper because the Complaint concerns a contract for the sale of a

Condominium, which is located in Chicago, Illinois. Venue is proper in Cook County, Illinois,

because the causes of action pled in Complaint are based upon transactions that occurred in Cook

County, Illinois, and Plaintiff SGARIGLIA resides in Cook County, Illinois.

                        III.         FACTS COMMON TO ALL COUNTS

       5.      On or about May 21, 2018, Defendants listed the Condominium for sale on the

MLS for the purchase price of $475,000.

       6.      On June 8, 2019, Defendant AIRES signed a Condominium Real Estate Purchase

and Sale Contract (“Sales Contract”) accepting the Plaintiff’s offer to purchase the

Condominium. The purchase price $510,000.00, with the closing to occur on July 25, 2018.

(See Sales Contract, attached as Exhibit A).

       7.      At the time of the signing of the contract, and since May 5, 2016, The Gonrings

were the owners of the Condominium and AIRES was not the owner.

       8.      Attached to the Sales Contract is a Residential Real Property Disclosure Report

under 765 ILCS 77/35, signed by The Gonrings. In it, they check the box “no” for all items

requesting if they are aware of any defects, including “leaks or material defects in the roof,

ceilings, or chimney” and defects “in the walls, windows, doors or floors.” (See Disclosure

Report, attached as Exhibit B-1). Plaintiff relied upon the Sellers’ representations and proceeded

with the purchase of the Condominium.




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       9.      In addition, the Defendants signed a Sellers Property Disclosure Statement that

was provided to Plaintiff Sgariglia. (See Property Disclosure Statement, attached as Exhibit B-

2). Also as to whether they were aware of water leakage, the Defendants only disclose that “unit

3 had leaks on west facing windows HOA sealed building to resolve Unit 3 leak.” (See para.

6a.). When asked if they were aware of any past or present “deterioration or other problems with

the walls, foundations or other structural components,” the Defendants answered “no.” Plaintiff

relied upon the Sellers’ representations and proceeded with the purchase of the Condominium.

       10.     Also part of the Sales Contract is an Addendum to Purchase and Sale Agreement,

which identifies AIRES as the Seller. (See Addendum, attached as Exhibit C).

       11.     From the signing of the Sales Contract, through the date of closing, the

Defendants failed to inform Plaintiff Sgariglia that AIRES was not the deeded owner of the

Condominium, and was not going fulfill the contract term to be the “Seller [that] shall execute

and deliver the Deed…” (See Exhibit A, paragraph 8).

       12.     On June 14, 2018, attorneys for Plaintiff Sgariglia sent an attorney review letter to

Defendants’ attorney. (See June 14, 2018 letter, attached as Exhibit D). In paragraph 8, Plaintiff

Sgariglia asks the Seller Defendants to verify that the Condo Association has not experienced

any instances of water (interior or exterior) leaking into the Property and/or any water damage

during Seller’s ownership of the Property.” Further, in paragraph 9, Plaintiff Sgariglia’s attorney

asked if there had been “any insurance claims within the last 5 years” and if there was “any other

matter concerning this property or the Seller that may interfere with the Buyer’s enjoyment and

marketability of the property.”

       13.     On June 18, 2018, Defendant AIRES’ attorney responded to the letter, identifying

the Seller as Aires, and refused to answer paragraphs 8e, 9a and 9e, claiming that as a relocation




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company, they are unable to make any representation or warranties beyond its factual report.

(See June 18, 2018 letter, attached as Exhibit E.)

       14.     On June 22, 2018, counsel for Plaintiff Sgariglia reiterated their request for

information under paragraphs 8e, 9a and 9e. (See June 22, 2018 letter, attached as Exhibit F).

       15.     Under paragraph 8e and 9a, counsel for Plaintiff Sgariglia requested Defendant

AIRES to contact the “prior owner” for information about water damage or leaking and

insurance claims. (See Exhibit F).

       16.     On July 2, 2018, Defendant AIRES responded and identified themselves as the

Seller, and that they have no knowledge of any leaks “when the information reported in the

Residential Real Property Disclosure Report or other homeowner provided disclosures makes no

mention of water infiltration issues within the Property.” (See July 2, 2018 letter, attached as

Exhibit G.)

       17.     In the same letter, Defendant AIRES reports no insurance claims were made

against their homeowners’ insurance within the last 5 years, and that it, as Seller, reports that the

property is not subject to any current or pending complaints.” (See Exhibit G, para. 8, 10).

Plaintiff again conveyed the information that as a third party relocation company, it is unable to

make additional representations or warranties. (See Exhibit G, para. 8, 10). Plaintiff Sgariglia

relied upon this representation in proceeding with the purchase of the Condominium.

       18.     The Defendants provided a 22.1 statement to Plaintiff Sgariglia that asks if any

capital expenditures were anticipated by the Association for the current or next to fiscal years

that would require a special assessment and/or increase in the monthly assessments, and the

Association answered “No.” (See 22.1 Statement, attached as Exhibit H). Defendants The

Gonrings were well aware that this was a false statement.




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        19.    On or about July 25, 2018, Defendants The Gonrings conveyed the Condominium

to Plaintiff Sgariglia by Warranty Deed, which was drafted by Sarah Wilkins, the attorney for

AIRES. (See Deed, attached as Exhibit T).

        20.    On September 7, 2018, John Gorr, the owner of unit 3, informed Plaintiff

Sgariglia that “there has been a history of water intrusion to the building” and that the “history of

the water intrusion has been thoroughly documented over some years and was clearly

communicated along the way to the other unit owners.” (See September 7, 2018, attached

Exhibit I).

        21.    Plaintiff Sgariglia demanded and received the history of documentation as it

pertains to the condominium association. By way of example, emails between the owners

complaining about water infiltration in the condominium building go back as far as April 2013.

(See April 18, 2013 email, attached as Exhibit J).

        22.    Complaints continued after Defendant The Gonrings purchased the Condominium

after May 5, 2016. Specifically, on December 4, 2017, John Gorr informed The Gonrings that

an engineer concluded that water had been entering his unit due to improper flashing. (See

December 4, 2017 email, attached as Exhibit K.) In addition, on February 20, 2018, an email

from Defendant Kelsey Gonring demonstrates that they became aware of the history of the water

infiltration and that “because the water infiltration issue has not been properly addressed and has

gotten so bad and costly, you are now reaching out to the HOA.” (See February 20, 2018 email,

attached as Exhibit L.)

        23.    In addition, The Gonrings were aware that the issue had been ongoing for the last

5 years and that this was an HOA issue, including the requirement about fixing the flashing.

(See March 12, 2018 email, attached as Exhibit M).




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       24.    During Defendant The Gonring’s ownership of the Condominium, the

Association received an ESI Investigative Report that was sent to Mr. Gorr on November 29,

2017. (See ESI Investigative Report, attached as Exhibit M). The Investigative Report opines

that water infiltration was occurring “at various locations of the structure, but particularly at

window and door openings,” with the problem due to deficiencies in the “original construction of

the building with the predominate issue being improper flashing at wall openings.” (See Exhibit

N, page 4).

       25.    The Association made a claim on its insurance coverage, which was denied on or

about November 30, 2017. (See November 30, 2017 letter from Erie Insurance, attached as

Exhibit O).

       26.    The Association received quotes for exterior and interior inspection on or about

March 6, 2018 from Bral Restoration, LLC. (See March 6, 2018 proposal, attached as Exhibit

P). John Gorr, as President of the HOA accepted this proposal. (See Exhibit P, page 2).

       27.    On May 3, 2018, Bral Restoration, LLC followed up on its investigative results to

the Association, and determined that the “existing flashing was through wall that allowed water

to penetrate right into the back of block.” (See May 3, 2018 Water Investigation Results,

attached as Exhibit Q). Bral Restoration also submitted its proposal for work to repair the

building. (See Exhibit Q).

       28.    The Association also pursued other quotes. For example, on or about March 30,

2018 it received a quote from Gralak Tuckpointing. (See March 30, 2018 Estimate, attached as

Exhibit R). Also on May 7, 2018, Defendant Kelsey Gonring received a quote from Arrow

Masonry, describing work to be performed on the Building, including installing flashing “above




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all 3 rear decks.” (See May 7, 2018 Arrow Masonry and Exteriors Contract, attached as Exhibit

S).

        29.     The Defendants The Gonrings never provided Plaintiff Sgarigilia with any of the

reports or estimates.

        30.     The Defendants The Gonrings never disclosed any problems associated with the

flashing to Plaintiff Sgariglia.

        31.     Despite being informed of the myriad of structural problems and leaks associated

with the Building, Defendants The Gonrings failed to disclose the defects in their Residential

Real Property Disclosure Report, which states that the information is being provided as of May

17, 2018, and states under line 6 that the Sellers are not aware of material defects in the walls,

windows, door, or floors. (See Exhibit B-1, para 6.).

        32.     On its Aires disclosure report, Defendants The Gonrings concealed the magnitude

of the problem and warranted that the issues were resolved, while concealing the defects by

answering “no” when as asked about problems with the walls or other structural components.

(See Exhibit B-2, para. 6a and 6b).

        33.     Defendant The Gonrings intentionally misrepresented to Plaintiff Sgarligia that

there was no water leakage and that “the provided disclosures makes [sic] no mention of water

infiltration issues within the Property.” (See Exhibit G, para. 7.) Defendant The Gonrings

received a report and were obtaining quotes to address the water infiltration a mere few weeks

before the Condominium was listed for sale.

        34.     Defendants intentionally misrepresented that they had made no claims against

their homeowners’ insurance within the last five years, when there was a claim for coverage that

had been made less than 1 year before. (See Exhibit G, para. 8; see also Exhibit N).




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          35.   Upon learning of the exact nature of the concealed defects, Plaintiff has obtained

quotes for repairs.    The total amount of estimate repairs will costs the entire Association

approximately $275,000.00 and Plaintiff is responsible for 44%.

          36.   Plaintiff Sgariglia’s Condominium has depreciated in value due to the defects.

                                 COUNT I
(VIOLATION OF 765 ILCS 77/35 ET SEQ. AGAINST DEFENDANTS NICHOLAS AND
                             KELLY GONRING)

          37.    Plaintiff restates and reiterates paragraphs 1 through 34 as though full restated

herein.

          38.   The Illinois Residential Real Property Disclosure Act (“Disclosure Act”) requires

Sellers of property to disclose certain conditions of the property. 765 ILCS 77/35.

          39.   Under the pertinent portions of the Disclosure Act, “A person who knowingly

violates or fails to perform any duty prescribed by any provision of this Act or who discloses any

information on the Residential Real Property Disclosure Report that he knows to be false shall be

liable in the amount of actual damages and court costs, and the court may award reasonable

attorney fees incurred by the prevailing party. (765 ILCS 77/55).

          40.   Defendants violated the Disclosure Act by failing to mention any of the defects

that they were well aware of.

          WHEREFORE, Plaintiff, MELINDA SGARIGLIA, prays for the entry of judgment in

his favor and against Defendants, NICHOLAS & KELLY GONRING, in an amount in excess of

$100,000.00, plus costs, attorney fees, prejudgment interest, costs, and whatever further relief the

Court deems necessary or appropriate under the circumstances.




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                                       COUNT II
                              (FRAUDULENT CONCEALMENT
                               SGARIGLIA v. THE GONRINGS)

       41.     Plaintiff Sgarigilia repeats and realleges the allegations contained in Paragraphs 1

through 38 of the Complaint as though actually pled herein.

       42.     Defendants The Gonrings were well apprised of the problems associated with the

Condominium Association building structure.

       43.     Defendants The Gonrings had a duty to disclose all latent defects to Plaintiff

Sgariglia.

       44.     Defendants The Gonrings concealed the latent defects by intentionally providing

false information in the disclosures and the letters to Plaintiff’s attorney, while claiming minor

issues had been allegedly resolved.

       45.     Defendants The Gonrings concealed their claim for insurance and denied making

any such claims.

       46.     Defendants The Gonrings made the false statements to induce Plaintiff Sgariglia

to purchase the Condominium, and Plaintiff Sgariglia did rely upon those statements and

purchased the Condominium.

       47.     The defects were not discovered by a professional inspector who Plaintiff retained

and were not readily visible to either the professional inspector or to Plaintiff Sgariglia.

       48.     The information was material to Plaintiff Sgariglia, as the quotes provided to

Defendants The Gonrings by contractors demonstrated that work could easily cost $125,000.00,

according to estimates.

       WHEREFORE, Plaintiff, MELINDA SGARIGLIA, prays for the entry of judgment in

his favor and against Defendants, AMERICAN INTERATIONAL RELOCATION SEVICES,




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LLC, d/b/a AIRES, and NICHOLAS AND KELLY GONRING., in an amount in excess of

$100,000.00, or in the alternative, rescission of contract and restitution, plus costs, prejudgment

interest, attorney fees and whatever further relief the Court deems necessary or appropriate under

the circumstances.

                                       COUNT III
                               (FRAUDULENT CONCEALMENT
                                   SGARIGLIA v. AIRES)

        49. Plaintiff Sgarigilia repeats and realleges the allegations contained in Paragraphs 1

              through 48 of the Complaint as though actually pled herein.

        50.      Defendant AIRES made false statements and omissions of material fact to

Plaintiff Sgariglia.

        51.      Defendant AIRES represented that it, as Seller, would be the one executing and

delivering the deed as required under paragraph 8 of the Sales Contract.

        52.      Defendant Aires held itself out as the title owner while failing to fairly and fully

disclose the material fact that The Gonrings were not the “prior owner” but instead the current

owners, which it should have disclosed in attorney correspondence (see Exhibits F, G);.

        53.      Defendant AIRES knew it was not the title owner and had a duty to fully and

fairly disclose that it was in fact not the title owner to Plaintiff Sgariglia, so that her attorney

could correspond directly with The Sgariglias.

        54.      By failing to disclose the actual title owner of the Condominium, it induced

Plaintiff Sgariglia’s attorney to refrain from directly communication The Sgariglias.

        55.      Plaintiff Sgariglia, through her attorney, relied upon Defendant AIRES

representation that it was the current owner and that The Gonrings were the prior owners, which

caused her attorney to demand direct communication with parties who were integral to the deal.




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       56.     Defendant AIRES reported no insurance claims were made against The Gonrings’

homeowners’ insurance within the last 5 years, when in fact Plantiff Sgariglia’s inquiry pertained

to “any” insurance claims. Defendant AIRES failed to fairly and fully disclose the material fact

that it was limiting its answer and not fully answering the question posed by Sgarglia’s attorney

       57.     Defendant AIRES had a duty to disclose that it was narrowing its answer as to

homeowner’s insurance and refusing to answer as to other types of insurance claims.

       58.     By refusing to answer the question fully, Defendant AIRES was appeared aware

of the insurance claims for the common areas and couched its answer to deceive Plaintiff

Sgariglia.

       59.     By deflecting answers and reciting its standard language of being a relocation

company, unable to make representations, Defendant AIRES made Plaintiff Sgariglia rely on this

representation and believe that there were no insurance claims and that this was the best

information that could be gleaned from parties who were no longer part of the transaction.

       60.     The information was material to Plaintiff Sgariglia, as questions about the

condition of the Condominium could have been posed to The Gonrings directly, who may have

shed further light on the issue of “any” insurance claims and whether the property experienced

any leaks or damage in the last 5 years.

       61.     As a result of Defendant AIRES material misrepresentation and omissions,

Plaintiff Sgariglia suffered damages from the reliance, in an amount in excess of $100,000.

       WHEREFORE, Plaintiff, MELINDA SGARIGLIA, prays for the entry of judgment in

his favor and against Defendants, AMERICAN INTERATIONAL RELOCATION SEVICES,

LLC, d/b/a AIRES, and NICHOLAS AND KELLY GONRING., in an amount in excess of

$100,000.00, or in the alternative, rescission of contract and restitution, plus costs, prejudgment




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interest, attorney fees and whatever further relief the Court deems necessary or appropriate under

the circumstances.



                                                    MELINDA SGARIGLIA,,
                                                    Plaintiff


                                                    BY:_____________________________
                                                          One of her Attorneys


Carol Oshana, Esquire
OSHANA LAW
33 N. Dearborn, Suite 200
Chicago, Illinois 60602
312-404-8390
Oshanalaw@yahoo.com

Dated: March 25, 2020




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                                       VERIFICATION

       Melinda Sgariglia, under penalties as provided by law pursuant to Section 5/1-109 of the

Illinois Code of Civil Procedure, hereby certifies that the statements set forth in this First

Amended Verified Complaint are true and correct, except as to matters therein stated to be on

information and belief, and as to such matters the undersigned certifies as aforesaid that he/she

verily believes the same to be true.



                                            _/s/ Melinda Sgariglia_____________
                                            MELINDA SGARIGLIA
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                                                                                   26 Blaine Street
                                                                                                   Hinsdale, IL 60521

REAL ESTATE, ESTATE PLANNING, PERSONAL INJURY                                                      Phone: 630.789.6833
                                                                                                   Fax: 630.230.1119
                                                                                                   www.hglegal.com


      Via facsimile 630-629-0580
                                                                       June 14, 2018
      Ms. Sarah Wilkins
      Attorney at Law

      Re:     2726 W. Cortez Street, Unit 1, Chicago, IL 60622
              Aires to Sgariglia

      Dear Ms. Wilkins,

      Please be advised that our office is representing the Buyer, Melinda Sgariglia, in the above referenced real
      estate transaction. This letterhead should provide you with our information. Should you need anything
      else, please do not hesitate to contact our office.

      Pursuant to the Attorney Modification Provision, I hereby approve of the contract subject to the following
      modifications:
             1) If this unit comes with a parking space(s), please confirm that the parking space will be insured
                 as a separate parcel on the title policy and please confirm whether said space is a limited
                 common element, assigned or deeded.
             2) If this unit comes with a storage space(s), please confirm that the storage space will be insured
                 as a separate parcel on the title policy and please confirm whether said space is a limited
                 common element, assigned or deeded.
             3) Paragraph 3: To confirm, the sales price is $510,000.00.
             4) Paragraph 6: All remaining earnest money shall be tendered within 3 business days after the
                 parties reach agreement per paragraphs 15 and 16 of the purchase contract.
             5) Paragraph 7: Mortgage Contingency
                     a. Line 36: To confirm, the first commitment date is July 6, 2018.
                     b. This contract is contingent upon the lender appraising the property for an amount at
                         least equal to the purchase price.
                     c. Please omit all references to seller procured financing.
                     d. The term “written mortgage commitment” is hereby modified to state a “written
                         mortgage commitment subject to only at closing conditions and matters of title and
                         survey as determined in the sole discretion of the Buyer’s lender.”
                     e. In the event seller fails to respond to or denies an extension under this provision, at
                         Buyer’s sole election, Buyer reserves the right to waive said extension and proceed
                         under the previously agreed-upon terms or declare the contract null & void and receive
                         the return of earnest money.
             6) Paragraph 8: Closing
                     a. To confirm, the closing date shall be July 25, 2018.
                     b. The parties agree that in the event the closing is delayed for any reason due to the
                         new TRID guidelines that the Buyer will not be considered in default of the contract
                         and the Seller will agree to extend the closing date as necessary.


                                           EXHIBIT D

                                Attorneys: Paul B. Garver, Esq. ~ Thomas B. Hawbecker, Esq.
                Lynn M. Graham, Esq. ~ Melissa A. Grisoni, Esq. ~ Kirk D. Langefeld, Esq. ~ Themis Katris, Esq.
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         c. Closing shall take place at a title company of Seller’s choosing at the office situated
             nearest to the Property or the Chicago Loop office of the Seller’s chosen title company.
  7) Paragraph 11: Seller shall pay the 2017 2nd installment at or prior to closing should said bill be
     issued. If not, the 2017 taxes shall be prorated at 110% of the last ascertainable full years tax
     bill. As 2018 is reassessment year in the city of Chicago,. The property is currently assessed
     at $33,177, which is well below the purchase price. The proration per the contract does not
     tax into account the pending increase in assessed value. 2018 taxes shall be prorated by taking
     the 10% of the purchase price, $51,000, multiplied by the most recent ascertainable tax rate
     and equalization factor.
  8) Paragraph 12: Homeowners Association
         a. If any special assessment is discussed, levied or approved prior to the date of closing,
             Seller shall be responsible for the full payment thereof.
         b. Paragraph 12, Line 73: The following is added after the sentence ending with
             Association Documents. “This contract shall remain contingent upon Buyer’s approval
             of those changes.”
         c. Please confirm the monthly assessment is $215.00 and please confirm what is included
             in the monthly assessment (gas, electric, water, cable, etc.).
         d. Please have the Association complete a 22.1 disclosure. This contract is contingent
             upon Buyer’s approval of same. Also, please provide a copy of the rules and
             regulations, the last 12 months association minutes, the association budget, and condo
             association declarations and bylaws including the plat which was recorded with the
             declaration. This contract shall remain contingent upon the satisfactory review thereof.
             In the event the property is not a condominium, but is part of a homeowner’s or
             townhome association, then the Seller shall still cause the association to fill out a 22.1
             form and provide the above requested documentation.
         e. Please verify that the Condo Association has not experienced any instances of water
             (interior or exterior) leaking into the Property and/or any water damage during Seller’s
             ownership of the Property. If there have been any such occurrences, please provide
             dates, locations, damage and any repairs made.
  9) Seller represents and warrants that the following are true and shall remain true at the time of
     closing:
         a. Sellers have not made any insurance claims within the last 5 years;
         b. The real estate taxes for the subject property are not subject to a senior freeze discount,
             senior exemption, improvement waiver, unimproved or partially unimproved status or
             any other type of exemption or discount which may be dropped by virtue of this
             transaction;
         c. Seller agrees that if the amount of the most recent tax bill reflects a homeowner, senior
             citizen or any other exemption, Seller has submitted all necessary documentation to the
             County Assessor’s Office prior to closing to preserve said exemptions. In the event the
             necessary documentation cannot be submitted prior to closing, the tax credits shall
             prorated without such exemptions.
         d. The Seller received all proper permits for any repairs completed during Seller’s
             ownership of the property and will provide copies as well as a certificate of
             occupancy if applicable; and
         e. There are no complaints, violations, suits, citations, notices or other citations of any
             kind whatsoever that are pending, concerning building code or zoning violations or in
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                   any other matter concerning this property or the Seller or that may interfere with
                   Buyer’s enjoyment and marketability of the property.
       10) Paragraph 13: If any additional items occur or if any inaccuracies occur before closing that
           would require a supplement to the Residential Real Property Disclosure, Buyer will have the
           right to accept the disclosure or inaccuracies or terminate the contract with the return of all
           earnest money if the parties cannot reach agreement on Seller’s proposal to cure.
       11) Paragraph C: At Seller’s expense, Seller will deliver or cause to be delivered to Buyer or
           Buyer’s attorney within customary time limitations and sufficiently in advance of Closing, as
           evidence of title in Seller or Grantor, a title commitment for an ALTA title insurance policy
           in the amount of the Purchase Price with extended coverage by a title company licensed to
           operate in the State of Illinois, issued on or subsequent to the Date of Acceptance.
       12) Seller represents and warrants that they are not a foreign citizen and that Section 1445 of the
           Internal Revenue Code does not apply to this transaction. Seller will present a signed FIRPTA
           document to Buyer at closing.
       13) Please verify that, to the best of Seller’s knowledge, the Property has not had any instances of
           water (interior or exterior) leaking into the Property and/or any water damage during Seller’s
           ownership of the Property. If there have been any such occurrences, please provide dates,
           locations, damage and any repairs made.
       14) Buyer respectfully requests an early morning closing (9:00 a.m.) on the July 25th if possible.
       15) Please confirm if there are any rental restrictions with the Association.

Pursuant to the Professional Inspection, Buyer hereby requests the following:
       A) Buyer requests a $4500 credit in lieu of repairing the items listed on the inspection Summary
           Page and Potential Safety Hazards page.
       B) Can you please confirm the date the HVAC was last serviced? Are there any receipts
           available?
       C) Seller to call ComEd (866-639-3532 option 2. Buyer can’t put in this request) to notify them
           there is a safety issue and that the power run from the alley to the neighbor’s property is too
           close to this unit’s garage deck. Additionally, Seller to call customer care at 800-334-7661
           and request that “sleeving” be put on the power run until the run is relocated per the above.
           There should be ample time to complete these items and it is Buyer’s understanding that there
           is no charge for this work. However, given the significant safety issue, if this is not completed
           by July 25th 2018, the date of closing, Buyer respectfully requests that an escrow with sufficient
           funds be established to handle any charges resulting from the power run relocation.
       D) Flickering Lights- Seller to call ComEd customer care and explain that the unit is experiencing
           flickering lights (800-334-7661). ComEd will determine if this issue is an inside/outside issue.
           If a building issue, Buyer respectfully requests that a licensed electrician properly repair this
           issue with a work order/receipt provided to Buyer prior to closing.

These issues are in no way to be construed as a counteroffer but merely suggested modifications to the
contract. In the event that some or all of the suggested modifications are not acceptable, then our client
reserves the right to either waive some or all of the aforementioned suggested modifications, proceed
under the terms of the contract as originally drafted, or to declare the contract to be null and void. If Seller
agrees to this, please sign and return a copy of this letter via facsimile. I look forward to working with
you in this transaction.
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Sincerely,



Thomas B. Hawbecker                          Agreed and accepted:
                                             This _______ Day of ____________, _______


                                             ________________________________
                                             Attorney for Seller
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      1:19-cv-05684
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                                                                      PageID#:372
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  Case:
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      1:19-cv-05684
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  Case:
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Case:
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                                                                             #:2392
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
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                                                                      PageID#:395
                                                                             #:2393




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Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:396
                                                                             #:2394
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:397
                                                                             #:2395
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:398
                                                                             #:2396
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:399
                                                                             #:2397
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:400
                                                                             #:2398
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
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                                                                   91PageID
                                                                      PageID#:401
                                                                             #:2399




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Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                            75ofof91
                                                                   91PageID
                                                                      PageID#:402
                                                                             #:2400
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                            76ofof91
                                                                   91PageID
                                                                      PageID#:403
                                                                             #:2401
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
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                                                            77ofof91
                                                                   91PageID
                                                                      PageID#:404
                                                                             #:2402




                              EXHIBIT R
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                            78ofof91
                                                                   91PageID
                                                                      PageID#:405
                                                                             #:2403
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                            79ofof91
                                                                   91PageID
                                                                      PageID#:406
                                                                             #:2404
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                            80ofof91
                                                                   91PageID
                                                                      PageID#:407
                                                                             #:2405
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:408
                                                                             #:2406
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:409
                                                                             #:2407
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
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                                                                   91PageID
                                                                      PageID#:410
                                                                             #:2408
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
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                                                                      PageID#:411
                                                                             #:2409




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Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:412
                                                                             #:2410
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:413
                                                                             #:2411
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:414
                                                                             #:2412
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:415
                                                                             #:2413
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
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                                                                      PageID#:416
                                                                             #:2414




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Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
                                              06/22/23Page
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                                                                   91PageID
                                                                      PageID#:417
                                                                             #:2415
Case:
  Case:
      1:19-cv-05684
        1:19-cv-05684
                    Document
                      Document
                             #: #:
                                207-2
                                   34 Filed:
                                       Filed:03/26/20
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                                                                      PageID#:418
                                                                             #:2416
